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UNTFED STATES DISTRICT COERT
NORTHERN DISTRICT OF NEW YORK
SYRACUSE DIVISION

MATTHEW ROACH, ef ai,

Plaintiffs,
v.
T.L. CANNON CORD, ef ai,
Defendants.
ASHLEY HICKS efal,
Plaintiffs,
¥a
TL. CANNON CORP, ef af,
_ Defendants

ORDER GRANTING FINAL

APPROVAL OF CLASS AND

COLLECTIVE ACTION
SETTLEMENT

J.cad Case
Civil Action No.
3:10-e¥-591 (TIM/DEP)

Member Case
Civil Action No.
18-ev-01177

WHEREAS, Named Plaintiffs Vfatthhew Roach, Melissa Longo, Garrett Titehen. Christina

Apple, Ashley Hicks, and Kristen Raymond. for themselves and on behalf of the proposed

settlement classes, and T.L. Cannon Corp., 1.1. Cannon Management Corp., PLC West, LIC

TLE Central. LLC, VLC Gtiea, LC. UC beast. ELC, TLC North, LLC, David A. Stein, Matibew

J. Vairbaira, and John A. Perry (Defendanis”}. for themselves. have contingent on Court approval,

entered inlo a Setllement Agreement that is intended to resolve Roach v. 7.L. Cannon Corp., 10-

ev-591 and flicks v. 7.L. Cannon Corp.. 18-cv-01177 (hercinalier referred to as the “Actons’);

WITEREAS, on October $6, 2018, plainulfs led an unopposed motion for preliminary

approval of the setilement;
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WHEREAS, on October 23, 2018. plaintifis fled a supplemental declaration in further
support of their motion Lor preliminary approval of the sctUement;

WIIEREAS, on October 25. 2018, the Court entered an order granting preliminary
approval of the Settlement and preliminarily cerlifying the settlement classes (the “Preliminary
Approval Order’); and

WHIEREAS, pursuant to lederal Rule of Civil Procedure 23, Class Members were given
the opportunity to make a claim, request fo be excluded from the settlement, and/or object to the
Setilement; and

WHEREAS, on February 28, 2019. the Court held a Final Approval Hearmeg;

NOW, THEREFORE, IT IS HEREBY ORDERED. upon consideration of the
SetUement Agreement, and all papers filed and proceedings held in the Actions, as follows:

1, Capitalized terms used in this Order and not otherwise defined herein shall
have the definitions assigned (o them in the SetUement Agreement.

2, This Court has jurnsdicuon over the claims alleged, the Partics In the
litigation. and the implementation and administration of the Settlement Agreement.

3. The Sctilement Agreement, and the Settlement contained therein, is hereby
fully, finally, and unconditionally approved in all respects, and the parties are hereby directed to
implement its terms. The Court finds that the Settlement ts fair, reasonable, and adequate in all
respects. The Court finds that the Seiilement is fair, reasonable, and adequate as to cach Class
Member, The Court finds that extensive investigation, rescarch. and litigation was conducted such
that counscl for ali partics are able to cvaluate the respective risks of further litigation, including
the additional costs, unceriainty, and delay associated with furiher prosecution of the Actions. ‘She

Court also finds that the settlement is the result of good laith, extensive. arms’ length negotiations
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between experienced counscl wuth (ie assistance of several mdependent and knowledgeable
mediators.

4, The Court finds that the Settlement warrants final approval pursuant to
Tederal Rule of Civil Procedure 23(e) because itis fair, adequate, and reasonable to the Sculement
Classes based upon: (1) the complexity. expense and likely duration of the litigation, (2) the
reaction of the Class Members to the Settlement; (3) the stage of the proceedings and the amount.
of discovery completed; (4) the risks of establishing Itability: (5) the risks of establishing damages;
(6) the risks of mainlaming the class action through the trial: (7) the ability of the defendant to
withstand a greater judgment; (8) the reasonableness of the settlement fund in heht of the best
possible recovery; and (9) the reasonableness of the settlement fund to a possible recovery in light
of all the attendant risks of litigation.

5. The Court confirms as hnal its cerufieation of the setUement classes. as
delined in the Settlement Agreement and in Paragraphs 4 of this Court's October 25, 2018
Preliminary Approval Order.

6. The Count confirms as final its Finding that Named Plaintiffs Matthew
Roach, Mclissa Longo, Garrett Vitchen. Christina Apple, Ashley licks, and Kristen Raymond are
adequate class representatives for the settlemem classes and confirms as final its appointment of
them as the class representatives of the sctilement classes.

7. The Court confirms as final thal J. Nelson Thomas and Michael J. Lingle of
the firm Thomas & Solomon, 693 léast Avcnuc, Rochester, New York and Frank S. Gattuso from
Gattuso & Ciotoli, PLLC, The White liouse, 7030 T’ast Genesce Strect, Fayetteville, New York,

are adequate to serve as Class Counsel for the settlement classes.
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8. The Notice and Claim Form that were sent to the Settlement Classes
pursuant to this Court’s October 25, 2018 Preliminary Approval Order were accurale. objective
and informative and were the best practicable means of providing reasonable notice to Class
Members of, among other things: (a) the proposed Settlement and its effect, (b) the process
available lo them to request a payment under the Settlement, (c¢) how they may object or opt-out,
(d) the time and place of the Vinal Approval Fearing. and (c) the applications lo be made by Class
Counsel for allorneys’ fees and costs and service payments Jor the Named Plamtlfs. The Court
finds that notice of these matters to the Class \iembers was accomplished in afl material respects
and that such notice fully met the requirements of Federal Rule of Civil Procedure 23, due process,
the Constitution of the United Statcs, the laws of the State of New York, and all other applicable
laws.

9, The Setilement and the SetUement Agreement are binding in all respecis on
the Named Plaintiffs and al! Class Members who did not timely submit a valid and effective Opt-
Out Statement pursuant to the provisions of the Sellicment Agreement.

10. Tbe Coun finds that the Seltilemeni Agrcement’s provisions for the funding
of the qualified settlement fund and for the distribution of funds from that account, including.
without limitation, the Setilement Agreement’s provisions for the payment of individual awards to
the Named Plaintiffs are [air, reasonable, and adcquaic. ‘the Court orders that the qualificd
setlement fund be funded as necessary pursuant lo the terms of the Seulement Agreement and that
payments be made according to the provisions of the Settlement Agreement following the final
Lifective Date of the Setllement Agreement,

11. The Court finds that the administrative costs in the amount of $69,889.00

are reasonable and approves payment to the Claims Administrator of such administrative costs
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from the Qualified Settlement Fund as specihed in the Settlement Agreement following the [inal
|: fective Date of the Settlemeni Agreement.

12, The Court has reviewed the releases sel forth in Section IX of the Setilement
Agreement and the claim form and finds that they are fair, reasonable, and enforceable under the
Yair Labor Siandards Aci and all other applicable laws. Class Members are accordingly forever
barred and enjoined [rom proseculing those released claims,

13. The Parties entered into ihe Settlement Agreement solely for the purpose of
compromising and settling disputed claims. Defendants do not admit any violation of Jaw and do
not admit any liability to the Named Plamnuffs or the seftlement classes, mndividuatly or
collectively, Neither the Settlernent Agreement nor any other papers submilted to this Court in
connection with the Settlement shall be deemed an adinission ol any kind by any of the Parties or
used as evidence against any of the Parties for any purpose in the Actions or any other suit, action,
or proceeding, except that the Settlement Agrecment may be Introduced in any proceeding for the
sole purpose of enforcing iis terms.

14. Tf. for any reason, the settlement is lermimated pursuant to the Settlement
Agreement, or the Final I‘ffective Date ofthe Settlement Agreement docs not oceur, the Settlement
Agreement shall be deemed null and void, Roach and /ficks shall no longer be consolidated, Hicks
shall be severed and transferred back to the Western District of New York, and the Settlement
Agreement and this Order shall not be used for any purpose whatsoever in any further
proceeding(s) in either case, or in any other suit. action, or procecding; and the Parties will be
returned to their respective positions, nuac pro func as those positions cxisted immediately prior

io the exceuUon of the SetUement Agreement.
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15. In accordance with Section VU ofthe Setdement Agreement. Class Counscl
is hereby awarded attorneys’ fees in the amount of $1,500.000.00 and costs in the amount of
$156,766.44 to be paid from the Qualified Settlement Fund as specified in the Settlement
Agrecment following the Vinal Effective Date of ihe Sevilement Agreement. Such an award is
reasonable in lighi of the effort expended and the risk undertaken by Class Counsel and the results
of such efforts,

16. In accordance wilh Section Vl of the Sctdement Agreement, Named
Plaintiffs Matthew Roach, Melissa Longo, Garrett Tichen, Christina Apple, Ashley Ticks, and
Kristen Raymond are bereby awarded enhancement service payment tp the amount of $10,000
cach to be paid from the qualified settlement fund as specified in the Settlement Agreement
following the Linal Fffeetive Date of the Settlement Agreement.

17. The Fina) Effective Daie of the Settiement is April 1, 2019, a date which
shall nol occur belare ihe first business date after all the [allowing events and conditions have been
met or have occurred: ({) the Court cnters a limal Approval Order and Final Judgment, (2) the
deadline has passed without action to terminate the Sctlement Agreement; and QG) the time to
appeal from, or file a motion for rehearing or reconsideration of, the Final Approval Order has
expired and uo notice of appeal or motion to rchear/reconsider is filed, or in the event that an
appeal or motion to rehear/reconsider is filed, the appellate proccss 1s exhausted for the appeal or
motion to rchear/reconsider and the Final Approval Order has not been modified, amended, or
reversed in any way,

18. Within three (3) calendar days of the Final 1:ffective Date, Class Counsel's

fees, costs and expenses shall be paid via clectronie transfer to Thomas & Solomon.
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19, Within thicty (30) calendar days of the Final Effective Date, the Clainis
Administrator shall mail] Sculement Payments to Authorized Claimants.

20. Upon the Final I:flective Date of the Sctilermmcnt Agreement, the Actions
shall be dismissed with prejudice and in their entirety, ‘Phe parties are to bear their own allorneys:
{ces and cosis, except as otherwise provided in the Settlement Agreement and this Order. The
Court shall retain jurisdiction over this Action for the purpose of resolving any issues relating to

the administration, implementation, or cnlorcement of the SetUcment Agreement and this Order.

&
ITISSO ORDERED this AP” day ou Leboct

Lhe e hanna He J. McaAyy <

United States District Judg

2019.

 

     
